                               Case 22-17189                     Doc 1       Filed 12/27/22             Page 1 of 12


 Fill in this information to identify the case:

  United States Bankruptcy Court for the:


                            District or   Maryland
                                {State)
  Case number (If known)   __________ Chapter __                                                                                   D    Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



 1. Debtor's name                            Platinum Moving Services, Inc.


 2. All other names debtor used
                                             Platinum Moving Services, LLC
    in the last 8 years
     Include any assumed names,
     trade names, and doing business
     as names




 3. Debtor's federal Employer                2 6         =   2 0 1 7 8 0 6
    Identification Number (EIN)



 4. Debtor's address                        Principal place of business                                   Mailing address, if different from principal place
                                                                                                          of business

                                            7610 Rickenbacker Drive, Office P
                                            Number           Street                                        Number     Street


                                                                                                          P 0. Box

                                            Gaithersburg                       MD        20879
                                            City                              State     ZIP Code          City                         State        ZIP Code

                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                            Montgomery
                                            County
                                                                                                           Number     Street




                                                                                                          C,ty                         State        ZIP Code




 s. Debtor's website (URL)                  https://platinum-moving.com/




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 1
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Debtor        Platinum Moving Services lnc                                                      Case number (it known)______________
             Name



 6. Type of debtor                           (a Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                             0 Partnership (excluding LLP)
                                             D Other. Specify: ___________________________

                                             A. Check one:
 7. Describe debtor's business
                                             0 Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             0 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51 B))
                                             0 Railroad (as defined in 11 U.S.C. § 101(44))
                                             D Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             D Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             0 Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             (a None of the above


                                             B. Check all that apply:

                                             D Tax-exempt entity (as described in 26 U.S.C. § 501)
                                             0 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                             0 Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                             C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                http://wwvv.uscourts gov/four-digit-national-association-naics-codes
                                                  4   8          1



 a. Under which chapter of the               Check one:
    Bankruptcy Code is the
    debtor filing?                           0 Chapter 7
                                             D Chapter 9
                                             (a Chapter 11. Check all that apply.
     A debtor who is a '"small business
     debtor" must check the first sub­                       D The debtor is a small business debtor as defined in 11 U.S.C. § 101(51 D), and its
     box. A debtor as defined in                               aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     § 1182(1) who elects to proceed                           affiliates) are less than $3.024.725. If this sub-box is selected, attach the most
     under subchapter V of chapter 11                          recent balance sheet. statement of operations. cash-flow statement. and federal
     (whether or not the debtor is a                           income tax return or if any of these documents do not exist. follow the procedure in
     "small business debtor") must                             11 u.s.c. § 1116(1 )(8).
     check the second sub-box.                               (a The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                nonconlingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $7.500,000. and it chooses to proceed under Subchapter V of
                                                                Chapter 11. If this sub-box is selected. attach the most recent balance sheet,
                                                                slatement of operations. cash-flow statement. and federal income tax return, or if
                                                                any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                § 1116(1)(8).

                                                             0 A plan is being filed with this petition.

                                                             0 Acceptances of lhe plan were solicited prepetition from one or more classes of
                                                               creditors. in accordance with 11 U.S.C. § 1126(b).

                                                             0 The debtor is required to file periodic reports (for example, 10K and 100) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                               for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             0 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                               12b-2.
                                             D Chapter 12




 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 2
                                   Case 22-17189             Doc 1          Filed 12/27/22          Page 3 of 12



Debtor           Platinum Moving Services, Inc.                                              Case number<·'""'""!_______________
                Namt:



 s. Were prior bankruptcy cases
    filed by or against the debtor
    within the last 8 years?             D Yes. D1stnct                                When ______ Case number __________
                                                                                            MM/ DD/YYYY
       If more than 2 cases, attach a
       separate list.                              Distnct                             When _ _____ Case number __________
                                                                                            MM/ DD/YYYY

 10.   Are any bankruptcy cases          !;a No
       pending or being filed by a
       business partner or an            D Yes.    Debtor                                                        Relationship
       affiliate of the debtor?                    District _____ _____________ When
       List all cases. If more than 1.                                                                                          MM / DD /YYYY
       attach a separate list.                     Case number, 1f known


 11.   Why is the case filed in this     Check all that apply:
       district?
                                         � Debtor has had its domicile. principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                           district.

                                         D   A bankruptcy case concerning debtor's affiliate. general partner, or partnership Is pending in this district.


 12.   Does the debtor own or have       i;a No
       possession of any real
                                         D Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                       Why does the property need immediate attention? (Check all that apply)
       attention?
                                                  D It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? ___________ ________________

                                                  D It needs to be physically secured or protected from the weather

                                                  D   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example. livestock. seasonal goods. meat. dairy. produce, or securities-related
                                                      assets or other options).

                                                  D Other ___________________________



                                                  Where is the property?___________________________
                                                                        Number Street



                                                                              City                                              State ZIP Code


                                                  Is the property insured?
                                                  0   No
                                                  D   Yes. Insurance agency ___________________________

                                                             Contact name

                                                             Phone



               Statistical and administrative information




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 3
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Debtor       Platinum Moving Services, Inc.                                                  Case number (it known)______________
             Name




 13. Debtor's estimation of              Check one:
     available funds                     � Funds will be available for distribution to unsecured creditors.
                                         D After any administrative expenses are paid. no funds will be available for distribution to unsecured creditors.


                                         �   1-49                         D 1,000-5.ooo                               D 25,001-50,000
 14. Estimated number of
                                         D   50-99                        D 5.001-10.000                              D 50.001-100,000
     creditors
                                         D   100-199                      D 10,001-25.ooo                             0 More than 100,000
                                         D   200-999

                                         D   so-s5o.ooo                   D   $1,000,001-$10 million                  D   $500,000,001-S1 billion
 1s. Estimated assets
                                         D   S50,001-s100,ooo             D   $10,000,001-$50 million                 D   $1,000.000,001-$10 billion
                                         �   $100,001-$500,000            D   $50,000,001-$100 million                D   $10.000,000,001-$50 billion
                                         D   $500,001-$1 million          D   $100,000,001-$500 million               D   More than $50 billion


                                         D   so-s5o,ooo                   D   $1,000,001-$10 million                  D   $500.000.001-$1 billion
 16. Estimated liabilities
                                         D   s50,001-s100.ooo             D   $10,000,001-$50 million                 D   $1,000.000,001-$10 billion
                                         D   s100,001-s500.ooo            D   $50,000,001-$100 million                D   $10.000,000,001-$50 billion
                                         �   $500,001-$1 million          D   $100,000,001-$500 million               D   More than $50 billion



            Request for Relief, Declaration, and Signatures



 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
               $500,000 or imprisonment for up to 20 years. or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor

                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on '�      22 1o), 1
                                                         MM/ DD /YYYY


                                                                                                            '    (
                                                                                                       Printed name


                                             Title   Owner




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 4
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Debtor        Platinum Moving Services, Inc.                                           Case number 1,tknov.n),______________
             Name



 1s. Signature of attorney          X                                                            Date          , C f·7 1- [ 71it c_
                                                                                                               MM      /DD /YYYY



                                        Diana C. Valle
                                        Printed name
                                        The Valle Law Firm, LLC
                                        Firm name
                                        3               Bethesda Metro Center, Ste. 700
                                        Number         Street
                                        Bethesda                                                       MD               20814
                                        City                                                           State            ZIP Code

                                        301-760-4204                                                    diana.valle@vallelawfirm.com
                                        Contact phone                                                  Ema,! address



                                        18377                                                          MD
                                        Bar number                                                     State




 Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 5
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                                     United States Bankruptcy Cami
                                          District of Maryland


In Re: Platinum Moving Services, Inc.                                      Case Number:

                  Debtor(s)                                                Chapter:            11



                            VERIFICAT[ON OF CREDITOR MATRIX
The above named Debtors hereby verify that the allachetl list of creditors is true and correct to the best of their
knowledge.


                                               Signature of Debtor(s): Is/    Q_c.<.A�L �J,O
                                                                        Isl   �s � \.J e., Fa/ z.1 0
               Case 22-17189       Doc 1   Filed 12/27/22   Page 7 of 12




Internal Revenue Service
Centralized Insolvency Operation
P.O. Box 7346
Philadelphia, PA 19101
M&T Bank
One Fountain Plaza
Buffalo, New York 14203
Airpark Equities
c/o Time Equities
55 Fifth Avenue
New York, NY 10003
Simply Funding, LLC
1170 Rt 17M, Suite 2
ChesterState, NY 10918
FORWARDING FINANCE
53 State Street
Boston, MA 021109
Wellen Capital
600 W. Jackson Blvd. Suite 750
Chicago IL 60661
lntegra Plus
12276 Wilkins Ave, Studio 304
Rockville, MD 20852
IMPERIAL PFS
C/O GB Collects
1253 Haddonfield Berling Rd.
Voorhees NJ 08043-4847
PICORP INC
6508 East Lombard St.
Baltimore, MD 21224
ARNOLD PACKAGING
1900 Finishing Mill Rd.,Ste. 100
Sparrows Point MD 21219
MOVE ONE FZE
Building No.7WA 2043
P.O. Box 293505
Dubai Airport Free Zone
Dubai, UAE
                Case 22-17189      Doc 1   Filed 12/27/22   Page 8 of 12




AIDU International Relocation Services
(Beijing) Co., LTD
Room 812, Bldg 1, Xiangqinyuan
Konggang St, Shunyi District, Beijing
101318, China
JOHN GRAY MOVING & STORAGE
9295-1219Quebec lnc
1405 Boulevard Hymus
Doral, Quebec H9P 1J5
BALDERAS S.A. de C.V.
Av. Miras 83, Lomas de Becerra
Alvaro Obregon, Mexico D.F.
C.P. 01280
PUTTERS INTERNATIONALNV
Erasmuslaan 30,
B-1804 Cargovil Brussels
Belgium
CONSOLIDATED STRATEGIES
Unit 1C Phillippine Trade Center
No. 14 Calle lndustria
Bagumbayan
Quezon City, Philippines
MITCHELL Moving and Storage
18800 Southcenter Parkway
Seattle, WA 98188
GOSSELIN Mobility NV
Belcrownlaan 23
Antwerpen
Belgium
AGS Group
Lords View Industrial Park
2 Oak Road, Chloorkop, Midrand 1619
Johannesburg Midrand Gauteng 1685
South Africa
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF MARYLAND

                                                  *
 In re:                                           *
                                                  *
 Platinum Moving Services, Inc.                   * Chapter 11
                                                  * Case No:
           Debtor(s).                             *
                                                  *

                            CORPORATE OWNERSHIP STATEMENT

          I, Raquel Fazio, the undersigned in the above-captioned case, hereby declare under penalty

of perjury under the laws of the United States that the following is true and coITect:

    1. I have personal knowledge of the matters set forth in this statement because I am 1 am the

          president or other officer or an authorized agent of the Debtor corporation; and

    2. There are no entities that directly or indirectly own 10% or more of any class of the

          corporation's equity.



  Date: }    2 - '2. 2 - 2 0 2 Q




                                               Page 1 of 1
                    Case 22-17189       Doc 1     Filed 12/27/22     Page 10 of 12




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MARYLAND

                                                  *
 In re:                                           *
                                                  *
 Platinum Moving Services, Inc.                   * Chapter 11
                                                  * Case No:
           Debtor(s).                             *
                                                  *


                   DEBTOR'S STATEMENT PURSUANT TO 11 U.S.C. § 1116

          I, Raquel Fazio, the undersigned in the above-captioned case, hereby declare under penalty

of perjury under the laws of the United States that the following is true and correct:

   1. I have personal knowledge of the matters set forth in this statement because I am 1 am the

          president or other officer or an authorized agent of the Debtor corporation; and

    2. No cash flow statement and statement of operations have been prepared.



  Date: ) 2.      1 1, 2 0 2. 2.                         B y�
                                                             �*

                                                         Name3:aq c)         e., \ f-a:z.10




                                               Page 1 of 1
                                            Case 22-17189                Doc 1   Filed 12/27/22               Page 11 of 12


      Fill in this information to identify the case:

                  Platinum Moving Services, Inc.
      Debtor name __________________________________________________________________
                                                                                 Maryland
      United States Bankruptcy Court for the: ______________________ District of _________

      Case number (If known):       _________________________
                                                                                   (State)
                                                                                                                                                  Check if this is an
                                                                                                                                                      amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                          12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete              Name, telephone number, and       Nature of the claim     Indicate if     Amount of unsecured claim
     mailing address, including zip code        email address of creditor         (for example, trade     claim is        If the claim is fully unsecured, fill in only unsecured
                                                contact                           debts, bank loans,      contingent,     claim amount. If claim is partially secured, fill in
                                                                                  professional            unliquidated,   total claim amount and deduction for value of
                                                                                  services, and           or disputed     collateral or setoff to calculate unsecured claim.
                                                                                  government
                                                                                  contracts)
                                                                                                                          Total claim, if    Deduction for       Unsecured
                                                                                                                          partially          value of            claim
                                                                                                                          secured            collateral or
                                                                                                                                             setoff
         Internal Revenue Service                  Jeremy T. Scheetz
1        Centralized Insolvency Operation          202-803-9940
                                                                                   Taxes                    disputed                                              5,505.85
         P.O. Box 7346                             1111 Constitution Ave NW
         Philadelphia, PA 19101                    K-5100
                                                   Washington, DC 20002


          M&T Bank                              M&T Bank                          Line of credit
2         One Fountain Plaza                    One Fountain Plaza
          Buffalo, New York 14203               Buffalo, New York 14203                                                                                          240,000
                                                800-724 -2240


3         Airpark Equities                      Brad Borden                       Leasing Agreement                                                                235,445.41
          c/o Time Equities                     Airpark Equities
          55 Fifth Avenue                       c/o Time Equities
          New York, NY 10003                    55 Fifth Avenue
                                                New York, NY 10003
                                                917-693-0089


4     Simply Funding, LLC                       Richard M Kind                    Loan                                                        56,782.76          4,249.31
      1170 Rt 17M, Suite 2                      Law Offices Kind & Dashoff, LLC                                               61,032.07
      ChesterState, NY 10918                    One Church Lane
                                                Baltimore, MD 21208

5
      FORWARDING FINANCE
      53 State Street
                                                FORWARDING FINANCE
                                                53 State Street
                                                                                  Loan                                                                            30,906.39
      Boston, MA 021109                         Boston, MA 021109
                                                617 456 8299


6     Wellen Capital
      600 W. Jackson Blvd. Suite 750
                                                Wellen Capital
                                                600 W. Jackson Blvd. Suite 750    Loan                                                                              34,686.25
                                                Chicago IL 60661
      Chicago IL 60661                          888-903-6130



      Integra Plus                              Jorge Hurtate                     Professional services
7                                               Integra Plus                                                                                                      10,680.00
      12276 Wilkins Ave, Studio 304             12276 Wilkins Ave, Studio 304
      Rockville, MD 20852                       Rockville, MD 20852
                                                301-793-2559


8     IMPERIAL PFS                              IMPERIAL PFS
                                                C/O GB Collects                   Insurance                                                                         2,400.00
      C/O GB Collects                           1253 Haddonfield Berling Rd.,
      1253 Haddonfield Berling Rd.,             Voorhees NJ 08043-4847
      Voorhees NJ 08043-4847                    888-688-5700




    Official Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                      page 1
                                                   Case 22-17189                  Doc 1        Filed 12/27/22    Page 12 of 12



     Debtor                Platinum Moving Services, Inc.                                                  Case number (ifk'lOWn)._______________
                         Name




      Name of creditor and complete                     Name, telephone number, and Nature of the claim     Indicate if     Amount of unsecured claim
      mailing address, Including zip code               email address of creditor   (for example, trade     claim is        If the claim is fully unsecured, fill in only unsecured
                                                        contact                     debts, bank loans,      contingent,     daim amount. If claim is partially secured, fill in
                                                                                    professional            unliquidated,   total claim amount and deduction for value of
                                                                                    services.and            or disputed     collateral or setoff to calculate unsecured claim.
                                                                                    government
                                                                                    contracts)
                                                                                                                            Total claim, if    Deduction for       Unsecured
                                                                                                                            partially          value of            claim
                                                                                                                            secured            collateral or
                                                                                                                                               setoff

'9    , PICORP INC                                          PICORP INC                         services                                                            3645.30
      1
        6508 East Lombard St.                              6508 East Lombard St.
                                                           Baltimore, MD 21224
        Baltimore, MD 21224                                410-633-7800

10        ARNOLD PACKAGING
          1900 Finishing Mill Rd.,Ste. 100
                                                        ARNOLD PACKAGING
                                                       1900 Finishing Mill Rd.,Ste. 100
                                                                                               suppl"1es                                                            1409.51
          Sparrows Point MD 21219                       Sparrows Point MD 21219
                                                       855-276-6537

11        MOVE ONE FZE
          Building No.7WA 2043
                                                       MOVEONE FZE
                                                       Su�ding No.7WA 2043                     services                                                              1798.00
          P.O. Box 293505                              g::i,'t�
                                                       P.O. Box 293505
                                                                   Free Zone
          Dubai Airport Free Zone                      971--4--08-5300
          Dubai, UAE

          AIDU International Relocalion Services       AIDU lntemalional Relocation Services
12         Beiji  Co., LTD                             (Beijing) Co., LTD                      services                                                             1690.00
          k oom�12. B1 1, Xiangqinyuan                 Room 812, Bldg 1, Xiangqinyuan
          Ko     a St, 1huny, Oistncl Beijing          Konggang St. Shuny1 Oistnct. Beijing
          101�i8,nghina                                101318. China
                                                       86-10-84720580

           JOHN GRAY MOVING & STORAGE                  JOHN GRAY MOVING & STORAGE
                                                                                               services
13         9295. 1219 Quebec Inc                                                                                                                                      7585.25
                                                       9295- 1219 Quebec Inc
                B
                                                       1405 Boulevard Hymus

           �il_ g�:;:� :s���i
                        d                              Doral. Quebec H9P 1J5
                                                       +1 514-694-7945




14        BALDERAS S.A. de C.V.
          Av. Miras83, Lomas de Becerra
                                                            BALDERAS S.A. de C.V.
                                                            Av. Miras 83, Lomas de Becerra     services                                                             32,500.00
          Alvaro Obregon. Mexico D.F.                       Alvaro Obregon, Mexico D.F.
          C.P.01280                                         C.P. 01280
                                                            5255 5598 1255

                                                       PUTTERS INTERNATIONALNV
15        PUTTERS INTERNATIONALNV
                                                       Erasmuslaan 30,                         services                                                              2295.00
          Erasmuslaan30,                               B-1804 Cargovil Brussels
          B-1804 Cargovil Brussels                     Belgium
          Belgium                                      32-2-721-40-40


                                                           CONSOLIDATED STRATEGIES
16        CONSOLIDATED STRATEGIES
          Unit 1C Phillippine Trade Center                 Unit 1C Phillippine Trade Center    services                                                              3114.00
          No. 14 Calle lndustria                           No. 14 Calle lndustna
                                                           Bagumbayan
          Bagumbayan                                       Quezon City, Philippines
          Quezon City, Philippines                         632 637.5907

                                                       MITCHELL Moving and Storage
17        MITCHELL Moving and Storage                  18800 Southcenter Parkway               services                                                              5363.60
          18800 Southcenter Parkway                    Seattle, WA 98188
          Seattle, WA 98188                            206-575-6800



                                                       GOSSELIN Mobility NV                                                                                        2500.00
18        GOSSELIN Mobility NV                         Belcrownlaan 23                         services
          Belcrownlaan23                               Antwerpen
          Antwerpen                                    Belgium
          Belgium                                      0032 3 360 55 00



19
          AGS Group
          Lords View Industrial Park
                                                       Gilbert Mulumba
                                                       AGSGroup
                                                       Lords View Industrial Park
                                                                                               services                                                               3,700
          2 Oak Road, Chloorkop, Midrand 1619          2 Oak Road, Chloorkop, Midmnd 1619
                                                       Johannesburg Midrond Gauleng 1685
          Johannesburg Midrand Gauteng 1685            South Africa
          South Africa                                 27 832 72 3273


20




     Official Form204                        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page2
